           Case 1:09-cr-00350-DAD-BAM Document 106 Filed 11/03/10 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   YASIN MOHAMMAD
     Assistant U.S. Attorney
 3   4401 Federal Building
     2500 Tulare St.
 4   Fresno, CA 93721
     (559) 497-4000
 5

 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )   CASE NO. 1:09-cr-00350 AWI
                                                      )
12                                Plaintiff,          )   STIPULATION TO CONTINUE
                                                      )   CHANGE OF PLEA
13   v.                                               )
                                                      )
14   JOSE JIMINEZ,                                    )
                                                      )   Date: November 1, 2010
15                                Defendant.          )   Time: 1:30 p.m.
                                                      )   Judge: Hon. Anthony W. Ishii
16                                                    )
17

18          Plea negotiations between the Defendant and the Government are ongoing. The Defense has

19   communicated that it has no problem continuing the matter to November 22, 2010. The Government

20   agrees that continuing the matter would conserve resources and allow time for the Parties to attempt to

21   reach a speedy and just resolution to the case. The Parties hereby stipulate that the Change of Plea

22   hearing be continued to November 22, 2010 at 9:00 a.m., and that speedy trial time be excluded through

23   and including that date.

24

25

26
27

28

29

30                                                        1
         Case 1:09-cr-00350-DAD-BAM Document 106 Filed 11/03/10 Page 2 of 3


 1
     DATED: October 28, 2010                      By: /s/ Yasin Mohammad________
 2                                                    YASIN MOHAMMAD
 3                                                    Assistant U.S. Attorney

 4
     DATED: October 28, 2010                      By: /s/ Jon Renge_______________
 5                                                    JON RENGE
                                                      Attorney for Jose Jiminez
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

29

30                                          2
                           Case 1:09-cr-00350-DAD-BAM Document 106 Filed 11/03/10 Page 3 of 3


 1                                            IN THE UNITED STATES DISTRICT COURT

 2                                               EASTERN DISTRICT OF CALIFORNIA

 3

 4   UNITED STATES OF AMERICA,                                  )   CASE NO. 1:09-cr-00350 AWI
                                                                )
 5                                             Plaintiff,       )   ORDER TO CONTINUE CHANGE
                                                                )   OF PLEA
 6   v.                                                         )
                                                                )
 7   JOSE JIMINEZ,                                              )
                                                                )   Date: November 1, 2010
 8                                             Defendant.       )   Time: 1:30 p.m.
                                                                )   Judge: Hon. Anthony W. Ishii
 9                                                              )
10

11
                                                                ORDER
12

13                          IT IS HEREBY ORDERED THAT the Change of Plea hearing is continued to November 22,

14   2010 at 9:00 a.m., and speedy trial time is excluded through and including that date.

15

16

17   IT IS SO ORDERED.

18   Dated: November 2, 2010
                                                        CHIEF UNITED STATES DISTRICT JUDGE
19
     DEAC_Signature-END:




     0m8i788
20

21

22

23

24

25

26
27

28

29

30                                                                  3
